 USCA11 Case: 22-13410      Document: 113     Date Filed: 09/15/2023   Page: 1 of 4


              IN THE UNITED STATES COURT OF APPEALS
                    FOR THE ELEVENTH CIRCUIT

 DONALD TRUMP, et al.,

              Appellants,

 v.                                                No. 22-13410-HH
                                                   Cons. With Nos: 22-14099-
 HILLARY CLINTON, et al.,                          HH and 23-10387-J

              Appellees.


                       APPELLANTS’ STATUS REPORT

      Pursuant to this Court’s instructions in its July 13, 2023, Order, Appellants

state the following:

      On August 15, 2023, Appellants notified this court that on July 27, 2023, in

the United States District Court for the Southern District of Florida, Appellants had

filed their motion for indicative ruling based upon new evidence. ECF No. 331,

Trump v. Clinton et al., No 2:22-cv-14102-DMM (S.D. Fla. July 27, 2023). Further, on

August 10, 2023, several Appellees and Defendants had filed three responses in

opposition to Appellants’ Motion for Indicative Ruling. ECF Nos. 332, 333, 334.

Since the August 15, 2023, Status Report, on August 17, 2023, Appellants’ filed their

reply in support of their motion for indicative ruling. The district court denied

Appellants’ motion on September 15, 2023. ECF No. 343.
 USCA11 Case: 22-13410      Document: 113     Date Filed: 09/15/2023     Page: 2 of 4


      Additionally, Appellants filed a motion to disqualify Judge Middlebrooks on

August 14, 2023. Appellees opposed this motion on August 28, 2023, and Appellants

filed a reply on September 5, 2023. Likewise, the district court denied Appellants’

motion on September 15, 2023. ECF No. 342.

      Appellants plan to promptly file a notice of appeal for both of these denial

orders. Further, Appellants plan to move to consolidate that appeal with this current

consolidated appeal.


Dated: September 15, 2023                    Respectfully submitted,

                                             /s/Jesse R. Binnall
                                             Jesse R. Binnall
                                             Jared J. Roberts
                                             BINNALL LAW GROUP, PLLC
                                             717 King Street, Suite 200
                                             Alexandria, Virginia 22314
                                             Phone: (703) 888-1943
                                             Fax: (703) 888-1930
                                             Email: jesse@binnall.com
                                                    jared@binnall.com

                                             Counsel for Donald J. Trump, Alina
                                             Habba, Michael T. Madaio, Habba
                                             Madaio & Associates, Peter Ticktin, Jamie
                                             Alan Sasson, and The Ticktin Law Group
 USCA11 Case: 22-13410      Document: 113   Date Filed: 09/15/2023   Page: 3 of 4


                        CERTIFICATE OF COMPLIANCE

      Undersigned counsel certifies that this document complies with the type-

volume limit of Fed. R. App. P. 27(d)(2)(a) because this document contains 265

words.

      Undersigned counsel further certifies that this document this document

complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and the type-

style requirements of Fed. R. App. P. 32(a)(6) because this document has been

prepared in a proportionally spaced typeface using Microsoft Word in 14 font size

and Baskerville font.



Dated: September 15, 2023                        Respectfully submitted,

                                                 /s/ Jesse R. Binnall
                                                 Jesse R. Binnall
 USCA11 Case: 22-13410       Document: 113   Date Filed: 09/15/2023   Page: 4 of 4


                         CERTIFICATE OF SERVICE

      I hereby certify that on September 15, 2023, a copy of the foregoing was filed

with the Clerk of the Court using the Court’s CM/ECF system, which will send a

copy to all counsel of record.

                                             /s/ Jesse R. Binnall
                                             Jesse R. Binnall
